      Case 7:19-cv-00399 Document 20 Filed on 03/09/20 in TXSD Page 1 of 1
                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                                                                                       March 09, 2020
                               UNITED STATES DISTRICT COURT
                                                                                     David J. Bradley, Clerk
                                SOUTHERN DISTRICT OF TEXAS
                                    MCALLEN DIVISION

PRISCILA L. LOZANO,                             §
                                                §
          Plaintiff,                            §
VS.                                             § CIVIL ACTION NO. 7:19-cv-00399
                                                §
SOUTH TEXAS FEDERAL CREDIT                      §
UNION,                                          §
                                                §
          Defendant.                            §

                                           ORDER

        On March 4, 2020, Plaintiff’s counsel Alexander J. Taylor (Mr. Taylor) appeared for a

show cause hearing following his failure to appear on February 25, 2020, for the initial pretrial

and scheduling conference. After hearing from counsel, the Court finds that Mr. Taylor failed to

show good cause for his failure to appear before this Court for the February 25, 2020 initial

pretrial and scheduling conference. The Court ORDERS Alexander J. Taylor to pay sanctions in

the amount of $700.00 to the Clerk of the Court no later than April 3, 2020. Failure to pay will

result in further sanctions.

        IT IS SO ORDERED.

        DONE at McAllen, Texas, this 9th day of March 2020.


                                                ___________________________________
                                                             Micaela Alvarez
                                                        United States District Judge




1/1
